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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                  Case No. 12-CR-20285
vs.                                               HON. GEORGE CARAM STEEH

LAZDER GILAJ,

           Defendant.
_______________________________/

  ORDER DENYING DEFENDANT’S MOTION TO DISMISS BASED ON ALLEGED
     VIOLATION OF CONSTITUTIONAL RIGHT TO SPEEDY TRIAL (Doc. 87)

       Defendant Lazder Gilaj has been indicted with several other individuals in a third

superseding indictment for conspiracy to distribute marijuana and possession with intent

to distribute marijuana in violation of 21 U.S.C. §§ 841(a) and 846, and also with

conspiring to smuggle aliens in violation of 8 U.S.C. § 1324. Now before the court is

Gilaj’s motion to dismiss based on his Sixth Amendment right to a speedy trial. Oral

argument was heard on October 29, 2013. Because the delays in this case have been

the result of the complexity of the issues involved and the government’s production of

voluminous records, many of which had to be translated from Albanian, and because

Gilaj has failed to show particularized prejudice, his motion shall be denied.

                     PROCEDURAL AND FACTUAL BACKGROUND

       On March 12, 2012, Gilaj was arrested on charges in a complaint alleging

smuggling items into the United States in violation of 18 U.S.C. § 545, and conspiracy to

commit an offense against the United States in violation of 18 U.S.C. § 371. He has


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been incarcerated in the custody of the United States Marshal’s since that time.

According to the government, the complaint was brought prior to the conclusion of the

government’s investigation of Gilaj’s involvement in a marijuana smuggling conspiracy

from Canada, because he had been ordered to be deported by United States

immigration authorities and would have been unavailable for prosecution at a later time.

The government accuses Gilaj of smuggling large bundles of marijuana from Canada

across the Detroit River to individuals in Chicago, Illinois. On May 2, 2012, the

government indicted Gilaj for conspiring to distribute marijuana, and possession with

intent to distribute marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and 846. Shortly

thereafter, on July 16, 2012, Gilaj filed a motion to sever from the other defendants on

the grounds that he wanted to protect his right to a speedy trial and wanted to

commence trial as quickly as possible. (Doc. 29). On August 8, 2012, Judge Edmunds

denied the motion to sever, and granted his co-defendant’s motion for recusal and

declared the time between July 16, 2012, and the date the new judge sets for a pretrial

conference as excusable delay under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7).

The case was reassigned to this judge and a status conference was held on August 28,

2012.

        On October 22, 2012, Gilaj was arraigned on a superseding indictment that

added two defendants to the same charges of the original indictment. This court

entered a scheduling order on December 27, 2012, setting the jury trial date of this

matter for February 19, 2013. On March 27, 2013, Gilaj was arraigned on a second

superseding indictment which added three more defendants to the same charges set

forth in the original indictment. On April 1, 2013, Gilaj’s attorney filed a motion to

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withdraw based on his suspension from the practice of law and new counsel was

appointed on April 4, 2013. On May 1, 2013, Gilaj filed a motion requesting a speedy

trial. (Doc. 74). This court denied without prejudice Gilaj’s motion for a speedy trial on

May 14, 2013. Shortly thereafter, on September 3, 2013, Gilaj filed a motion to dismiss

based upon an alleged violation of his Sixth Amendment right to a speedy trial which is

the matter now before the court.

       Although the possession with intent to distribute marijuana count involved a

discrete time period from July 10, 2011 until July 16, 2011, the government states that it

was part of a much larger and longer conspiracy involving many other criminal activities,

including alien smuggling, extortion and obstruction of justice. In fact, after Gilaj filed his

motion to dismiss, and after the government filed its response brief, the government

filed a third superseding indictment on October 1, 2013, adding a new count against

Gilaj, and others, alleging that he has conspired to smuggle aliens in violation of 8

U.S.C. § 1324.

       Count Three of the third superseding indictment alleges that the alien smuggling

conspiracy began in 2007 and charges Gilaj with using his reputation in the Albanian

and Balkan communities to facilitate the smuggling of aliens from Canada to the United

States and vice versa across the Detroit River in his boat. In furtherance of the

conspiracy, the government alleges that Gilaj pretended to cooperate with U.S. Border

Patrol by occasionally turning in aliens to be smuggled or who had already been

smuggled into the country in order to protect his conspiracy from prosecution. The

government also accuses him of turning in information about the activities of his



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competitors and providing disinformation to federal agents in order to safeguard his own

smuggling activities.

       The government has advised Gilaj and the court that Gilaj was the subject of

court authorized electronic surveillance during the end of 2010 and through the

beginning of 2011. These numerous interceptions, which number in the thousands, are

largely in Albanian. The government has provided this discovery to Gilaj from June to

September, 2013. The discovery includes 17,697 pages, 42 DVDs, and 17,387 audio

files. Based on the complexity of the years-long alien smuggling conspiracy and the

voluminous records involved which require translation, the government argues that

Gilaj’s Sixth Amendment speedy trial rights have not been violated.

                                        ANALYSIS

       The Sixth Amendment guarantees that, “[i]n all criminal prosecutions, the

accused shall enjoy the right to a speedy trial and public trial.” U.S. Const. amend. VI.

In determining whether a defendant’s Sixth Amendment right to a speedy trial has been

violated, the court is to consider four factors as set forth by the Supreme Court in Barker

v. Wingo, 407 U.S. 514 (1972). The factors are (1) whether the delay was uncommonly

long, (2) the reason for the delay, (3) whether the defendant asserted his right to a

speedy trial, and (4) whether the delay prejudiced the defendant. Id. at 530. No one

factor constitutes a “necessary or sufficient condition to the finding of a deprivation of

the right of speedy trial.” Id. at 533. “Rather, they are related factors and must be

considered together with such other circumstances as may be relevant.” Id. The court

analyzes each of the four factors below.



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       1. Length of the delay

       The Supreme Court has held that the length of the delay is a “triggering”

mechanism, for which if the delay is not significant enough to be deemed “presumptively

prejudicial,” there is no need for the court to address the other three factors. Id. at 530.

Whether the delay is long enough to be deemed “presumptively prejudicial” is a factual

inquiry which will vary depending on the nature of the case. As the Supreme Court

explained, “[t]o take but one example, the delay that can be tolerated for an ordinary

street crime is significantly less than for a serious, complex conspiracy charge.” Id.

Gilaj was arrested on March 12, 2012, thus the trial of this matter has been delayed for

over one year. The Sixth Circuit has held that a delay of one year is “presumptively

prejudicial and triggers application of the remaining three factors.” United States v.

Bass, 460 F.3d 830, 836 (6th Cir. 2006) (citations omitted). Thus, the court evaluates

the other three factors.

       2.      The reason for the delay

       This case involves a sixteen-defendant international drug and alien smuggling

conspiracy spanning at least five years. The discovery in this case is extremely

voluminous and involves lengthy surveillance interceptions of conversations in Albanian

which require translation. The government contends that its production of voluminous

discovery and ongoing translation of intercepted phone calls has consumed a

considerable amount of time. The government further argues that Gilaj would not be

prepared to go to trial until after an examination of all the discovery materials including

his own intercepted phone calls. The Sixth Circuit has held that “[d]elays due to the

complexity of the case and the large number of defendants support a finding that no

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Sixth Amendment violation has occurred.” Bass, 460 F.3d at 836. Because it appears

that the delay, even if attributable to the government, is not motivated by bad faith,

harassment or attempts to seek a tactical advantage, or even by negligence, but is

merely the result of the complexity of the case, this factor weighs heavily in favor of the

government and against Gilaj’s claim that his speedy trial rights were violated. See

United States v. Robinson, 455 F.3d 602, 607 (6th Cir. 2006).

       3.     Whether Gilaj asserted his right to a speedy trial

       The third factor is Gilaj’s assertion of his speedy trial rights. Gilaj filed a motion

to sever based on his speedy trial rights on August 16, 2012, a motion to proceed to trial

based on his speedy trial rights on May 1, 2013, and the motion to dismiss based on

speedy trial rights now before the court, which was filed on September 4, 2013. Thus, it

is clear that Gilaj has asserted his constitutional right to a speedy trial and this factor

weighs in Gilaj’s favor in deciding his motion to dismiss.

       4.     Whether Gilaj has been prejudiced by the delay

       The fourth factor is whether Gilaj has been prejudiced by the delay. This factor

militates against Gilaj as he cannot show any constitutional deprivation where no

prejudice exists. In determining “prejudice,” the court has identified three interests of

the defendant for which the speedy trial right is meant to protect: “(I) to prevent

oppressive pretrial incarceration, (ii) to minimize anxiety and concern of the accused;

and (iii) to limit the possibility that the defense will be impaired.” Barker, 407 U.S. at

532. Of these interests, the Supreme Court has stressed that the third factor is the

most important “because the inability of a defendant adequately to prepare his case

skews the fairness of the entire system.” Id.

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       Gilaj has not shown any particularized prejudice, but only alleges generally that

witnesses’ memories may fade over time and exculpatory evidence may be lost. The

Sixth Circuit has held that vague and unsupported assertions that witnesses’ memories

may have faded is insufficient to show prejudice where the defendant fails to show

which witnesses’ memories were affected. Bass, 460 F.3d at 838. Similarly, Gilaj has

failed to specify what allegedly exculpatory evidence may have been lost. Gilaj has not

shown that the delay has prejudiced his defense in any way. The court is persuaded by

the government’s argument that Gilaj’s counsel would not be prepared to mount a

vigorous defense until review of the voluminous papers, DVDs, and audio recordings

can be undertaken, and given that these materials were not produced until between

June through September of this year, it appears that any delay in this case is not only

not prejudicial, but likely a benefit to him.

       In sum, although the delay here of over one year is presumptively prejudicial,

based on the complexity of the conspiracies at issue and the voluminous audio

recordings in Albanian involved, which the government needed to translate, and based

on the fact that Gilaj has not shown any actual prejudice to his defense, Gilaj has failed

to show any constitutional violation of his right to a speedy trial. Accordingly,

       IT IS ORDERED that Gilaj’s motion to dismiss based on an alleged violation of

his Sixth Amendment right to a speedy trial (Doc. 87) hereby is DENIED.

       IT IS SO ORDERED.

Dated: October 29, 2013
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE


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                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                   October 29, 2013, by electronic and/or ordinary mail.

                                   s/Marcia Beauchemin
                                       Deputy Clerk




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